Case 3:17-cv-00072-NKM-JCH Document 619 Filed 01/06/20 Page 1 of 3 Pageid#: 7964


  Description Appearance Sheet for the United States District Court Western District of
                Virginia Charlottesville Division; Sines v. Kessler; Case No: 3:17CV72; Date:
                1/6/20; Type of Hearing: Telephonic Status; Parties: 1. Norman K. Moon,
                USDJ; 2. Jessica Phillips; 3. Michael Block; 4. Elliott Kline; 5. Alan Levine;
                6. Erin Ashwell; 7. Yotam Barkai : Recorded by: Heidi N. Wheeler; Time in
                Court: 61 min
  Date          1/6/2020 Location [CVILLE-FTR3]
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Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-FTR3]  Di

      Time     Speaker                              Note
   2:10:41 PM 1,2      2:01-2:06 Connection issues, Clerk had to dial back into call; 2:06
                               to 2:10 Court summarizes issues Ms. Phillips responds

   2:13:11 PM     2
   2:13:29 PM     1
   2:13:39 PM     3            Michael Bloch
   2:13:55 PM     1
   2:14:24 PM     4            Defendant sworn
   2:14:36 PM     1,4
   2:15:24 PM     1,4
   2:16:29 PM     1,4
   2:17:20 PM     1,4
   2:18:37 PM     1,4
   2:19:06 PM     1,2
   2:20:21 PM     1,4
   2:21:49 PM     1,4
   2:22:58 PM     1,4
   2:24:02 PM     1,4
   2:24:57 PM     1
   2:25:06 PM     2
   2:25:52 PM     4
   2:26:22 PM     2,4
   2:26:59 PM     2,4
   2:28:04 PM     2,4
   2:29:15 PM     2,4
   2:31:05 PM     2,4
   2:33:02 PM     2,4
   2:35:05 PM     2,4
   2:37:20 PM     2,4
   2:38:29 PM     2
   2:38:34 PM     1
   2:38:43 PM     3
   2:38:46 PM     1
   2:38:56 PM     5,1          Alan Levine
   2:39:21 PM     4
   2:39:25 PM     5,1
   2:39:38 PM     2
   2:39:39 PM     1
   2:39:50 PM     2,1
   2:40:04 PM     2
   2:40:58 PM     1,4
   2:42:16 PM     1
   2:42:36 PM     4,1

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Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-FTR3]  Di

   2:42:42 PM     4
   2:43:39 PM     1
   2:43:43 PM     2
   2:43:45 PM     1
   2:44:59 PM     1            Findings by Court
   2:46:42 PM     4
   2:46:57 PM     1
   2:47:38 PM     4
   2:49:40 PM     1,4
   2:53:22 PM     1,4
   2:54:20 PM     1,4
   2:55:35 PM     1,4
   2:57:05 PM     2
   2:57:08 PM     1
   2:57:08 PM     2
   2:57:42 PM     4,2
   2:59:10 PM     4,1
   3:00:29 PM     1
   3:00:47 PM     1            Final Findings. Order will issue.
   3:01:21 PM     4,1
   3:02:14 PM     1
   3:02:31 PM     2




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